    Case: 1:13-cv-09116 Document #: 74 Filed: 07/29/14 Page 1 of 2 PageID #:1173



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILILNOIS
                                 EASTERN DIVISION


IN RE: NATIONAL COLLEGIATE                     )
ATHLETIC ASSOCIATION                           )       MDL No. 2492
STUDENT-ATHLETE CONCUSSION                     )
INJURY LITIGATION                              )       Master Docket No. 13 C 9116
                                               )
                                               )       Judge John Z. Lee
                                               )
                                               )       Magistrate Judge Geraldine Soat Brown
                                               )
This Document Relates to All Cases             )


                             CASE MANAGEMENT ORDER NO. 2

        On July 29, 2014, the Court held a status hearing.           At that time, Plaintiffs Adrian

Arrington, Derek Owens, Kyle Solomon, Angela Palacios, Abram Robert Wolf, Sean Sweeney,

Jim O’Conner, Dan Ahern, Paul Morgan, Jeffrey Caldwell, John DuRocher, and Sharron

Washington, individually and in their capacities as Class Representatives (collectively, the

“Settling Plaintiffs”), 1 presented their Motion for Preliminary Approval of Class Settlement and

Certification of Settlement Class. The Court heard argument from counsel for the Settling

Plaintiffs, Defendant the National Collegiate Athletic Association (the “NCAA”), and from

counsel representing Plaintiffs in Nichols v. The National Collegiate Athletic Association, No.

14-cv-0962 (the “Nichols Plaintiffs”). The Court also issued its ruling regarding the applications

to serve as Lead and Liaison Counsel, which will be memorialized in a separate order.



1
 These individuals serve as the Class Representatives in the following cases: Arrington, et al. v. NCAA,
No. 1:11-cv-06356; Walker, et al. v. NCAA, No. 1:13-cv-09117; Caldwell, et al. v. NCAA, No. 1:14-cv-
00195; Doughty v. NCAA, No. 1:14-cv-00199; John Durocher, et al. v. NCAA, et al., No. 1:14-cv-00035;
Hudson v. NCAA, No. 1:14-cv-00194; Paul Morgan, et al. v. NCAA, No. 1:14- cv-00196; Powell v.
NCAA, No. 1:14-cv-00198; Walton, et al. v. NCAA, No.1:14-cv-00200; Washington, et al. v. NCAA, No.
1:14-cv-00197; and Wolf v. NCAA, No. 1:14-01268.
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         The next status hearing shall take place on September 19, 2014 at 10:00 a.m., and the

Settling Plaintiffs’ Motion for Preliminary Approval [64] is entered and continued until that time.

The Settling Plaintiffs’ motion for leave to file an oversized brief [71] is granted. The Settling

Plaintiffs are directed to file a supplemental memorandum in support of their Motion for

Preliminary Approval by August 8, 2014. The supplemental memorandum, which is limited to

15 pages, should address the issues outlined by the Court with respect to the ability of the

proposed settlement class to waive their rights to pursue class-wide relief under Fed. R. Civ. P.

23(b)(3). The Settling Plaintiffs are further directed to provide the Court with a memorandum

regarding the ascertainability of the settlement class and the reasonableness of the proposed

notice and related procedures under Fed. R. Civ. P. 23(e)(1) by September 5, 2014.

         The Nichols Plaintiffs’ objection to the Motion for Preliminary Approval is due by

August 22, 2014. The Nichols Plaintiffs are allotted a total of 30 pages for their submission.



IT IS SO ORDERED:

Dated: 7/29/14                        __________________________
                                      HONORABLE JOHN Z. LEE
                                      UNITED STATES DISTRICT JUDGE




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